              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CIVIL CASE NO. 1:08cv33
               [Criminal Case Nos. 3:01cr11-3 & 1:01cr45]


PHILIP B. GREER,            )
                            )
              Petitioner,   )
                            )
         vs.                )                    ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
____________________________)


      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody. [Doc. 1].

                          STANDARD OF REVIEW

      A prisoner in federal custody may attack his conviction and sentence on

the grounds that it is in violation of the Constitution or United States law, was

imposed without jurisdiction, exceeds the maximum penalty, or otherwise is

subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion, any attached
      exhibits, and the record of prior proceedings that the moving party
      is not entitled to relief, the judge must dismiss the motion and
      direct the clerk to notify the moving party.



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Rule 4, Rules Governing Section 2255 Proceedings for the United States

District Courts.      The Court has reviewed the Petitioner’s motion and the

record of his underlying criminal proceedings and enters summary dismissal

for the reasons stated herein.



                            PROCEDURAL HISTORY

          The Petitioner was prosecuted in two separate criminal actions, one in

the Charlotte Division of the Western District of North Carolina and the other

in the Asheville Division thereof. The Charlotte Division case was filed first on

January 11, 2001. United States v. Greer, Criminal Case No. 3:01cr11 (Case

No. 3:01cr11). On May 10, 2001, a second Superseding Bill of Indictment

was filed alleging that Petitioner had participated in an elaborate Ponzi

scheme involving millions of dollars and hundreds of victims. [Doc. 34]. The

Indictment charged the Petitioner and four co-defendants with conspiracy to

defraud the United States, conspiracy to commit money laundering and

money laundering, in violation of 18 U.S.C. §§371, 1956(h), 1956(a)(1)(A)(I).

[Id.].

          The Asheville Division case was filed on June 5, 2001 when the

Petitioner waived charges by indictment. United States v. Greer, Criminal

Case No. 1:01cr45 (Case No. 1:01cr45). The Bill of Information charged the

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Petitioner with commodities fraud, in violation of 7 U.S.C. §§6o(1) & 13(a)(2)

and 18 U.S.C. § 2. [Doc. 2].

      On June 5, 2001, the Petitioner entered into a written Plea Agreement

with the Government pursuant to which he agreed to plead guilty to Counts

One, Fourteen, Fifteen, Seventeen, Thirty-Two and Thirty-Five of the second

superseding bill of indictment in Case No. 3:01cr11 and to the bill of

information in Case No. 1:01cr45. [3:01cr11, Doc. 73]. It was disclosed in the

agreement that the Petitioner faced a total possible sentence of 105 years

imprisonment along with fines, restitution and assessments. [Id. at ¶ 2]. The

Petitioner acknowledged in the agreement that (1) the loss sustained from the

conspiracy to defraud which was known to or reasonably foreseeable to him

was more than $20 million but less than $40 million; (2) the value of funds

involved in the money laundering counts was more than $20 million but less

than $35 million; and (3) pursuant to the United States Sentencing Guidelines

(U.S.S.G.), his adjusted offense level for all counts was 39. [Id., at ¶¶ 3(a)-(d)].

The Agreement also contained a provision in which the Petitioner waived his

right to attack, directly or collaterally, his convictions and sentences on any

grounds, except ineffective assistance of counsel and prosecutorial

misconduct. [Id., ¶13].

      On the same day that he signed the agreement, the Petitioner appeared


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for his Rule 11 Hearing. He was placed under oath and participated in a

lengthy colloquy pursuant to which the Magistrate Judge insured that the

Petitioner entered his guilty pleas knowingly, intelligently and voluntarily. [Id.,

at Doc. 70; Doc. 72]. In open court and on the record, the Petitioner told the

Court that he had reviewed the charges with his attorney, he understood the

penalties he faced, he understood and agreed to the terms of his Plea

Agreement, he had spoken with his attorney about defenses, he had

discussed with his attorney how the guidelines might apply in his case, and

he was satisfied with his attorney’s services, [Id., at Doc. 70, 1-13].          The

Petitioner stated under oath that he was entering the guilty pleas because he,

in fact, was guilty of each of the offenses. [Id.]. He also stated that, other than

the promises set forth in his Plea Agreement, no one had coerced, threatened

or made any promises of leniency in order to induce those pleas. [Id.]. After

considering all of Petitioner’s sworn representations, the Court concluded that

his pleas were knowingly and freely made and thus accepted his guilty pleas.

[Id.].

          The United States Probation Office prepared a Presentence Report in

which the Petitioner’s final Total Offense Level was determined to be 36 and

his Criminal History Category was found to be I, with a corresponding

guideline range of 188 to 235 months imprisonment. [Criminal Case No.


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1:01cr45, Doc. 30, ¶¶ 55 and 71]. In March 2003, the Government filed a

Motion for a Downward Departure pursuant to U.S.S.G. §5K1.1 and 18 U.S.C.

§3553(e) in which it recommended a sentence of 100 months imprisonment.

[Criminal Case No. 3:01cr11, Doc. 268].

      On April 4, 2003, the Court1 sentenced the Petitioner serve 60 months

imprisonment for the charge in the bill of information and 60 months

imprisonment for the conspiracy to defraud count in Criminal Case No.

3:01cr11. [Id., Doc. 280]. He was sentenced to 120 months imprisonment for

the remaining charges. [Id.]. All sentences were to run concurrently. [Id.].

The Petitioner did not file a direct appeal.

      On March 15, 2004, the Petitioner, acting pro se, filed a motion to

vacate his sentence pursuant to 28 U.S.C. §2255. [Civil Case No. 1:04cv46,

Doc. 1]. In that motion, the Petitioner made the following claims: (1) he

received ineffective assistance of counsel when his attorney failed to file a

notice of appeal; (2) the sentencing court committed error by failing to obtain

the Petitioner’s consent to be sentenced less than 35 days after receipt of his

original and revised Pre-Sentence Report; (2) the sentencing court committed

error by failing to ask the Petitioner whether he had received, read and



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      Hon. Lacy H. Thornburg was the sentencing court. He has since retired and the
case was reassigned to the undersigned.

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reviewed those reports with counsel; (3) the sentencing court committed error

by failing to ask the Petitioner whether he wanted to make a statement; (4) the

sentencing court failed to specify the amount of restitution for which the

Petitioner was being held responsible; (5) the Petitioner received ineffective

assistance of counsel when his attorney failed to file objections to the

presentence report; (6) he received ineffective assistance of counsel when his

attorney advised that the guideline range after a downward departure would

be 72 to 90 months imprisonment; (7) he received ineffective assistance of

counsel when his attorney represented that all appeal rights had been

forfeited; and (8) his guilty plea was not knowingly and voluntarily entered

because it was induced by his attorney’s ineffectiveness, as set forth above.

[Id., Doc. 1-1, at 2-9]. Judge Thornburg dismissed the motion, finding no

grounds for relief had been stated. [Id., Doc. 4].

       The Petitioner appealed from that dismissal. [Id., Doc. 6]. The Fourth

Circuit issued a certificate of appealability as to only one claim, whether trial

counsel was ineffective for failing to honor the Petitioner’s request for an

appeal. United States v. Greer, 217 Fed. Appx. 282, 283 (4 th Cir. Feb. 22,

2007). The Circuit remanded for an evidentiary hearing on that single issue.

Id.

       On remand, Judge Thornburg granted relief to the Petitioner on the


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claim that counsel failed to honor his request for an appeal, entered an

amended judgment from which the Petitioner could appeal and ordered that a

notice of appeal be filed on his behalf. [Criminal Case No. 3:01cr11-3, Doc.

485; Doc. 486]. On direct appeal, the Petitioner raised the following issues: (1)

the receipt of the presentence report and amended report less than 35 days

prior to sentencing was error; (2) the failure of the sentencing court to ask

whether counsel had reviewed the presentence report with the Petitioner was

error; (3) the failure of the sentencing court to directly address the Petitioner

concerning allocution was error; (4) it was error to re-sentence the Petitioner

in absentia; (5) the sentencing court failed to apply Booker at re-sentencing,

thus committing error. United States v. Greer, 2008 WL 3022743 (Appellant

Brief). In the body of the brief, the Petitioner argued that trial counsel was

ineffective because he allowed each of the above errors to occur. Id.

      When the Court of Appeals considered this appeal, it concluded that the

waiver of direct appeal in the plea agreement was a valid and enforceable bar

to all of his claims except claims of ineffective assistance of counsel. United

States v. Greer, 259 Fed. Appx. 610, 610-11 (4 th Cir. Dec. 28, 2007). “Insofar

as Greer is attempting to frame his appellate issues as being the result of

ineffective assistance of counsel, the claims are not cognizable on direct

appeal. Rather, to allow for adequate development of the record, a defendant


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must bring his claims in a 28 U.S.C. §2255 motion.” Id.

      This ruling resulted in the pending motion in which the Petitioner

essentially recasts his prior §2255 and appellate claims as ineffective

assistance of counsel claims.      Counsel was ineffective, he now claims,

because counsel failed (1) to object to the sentencing hearing being held within

35 days of receipt of the amended presentence report; (2) to require the

sentencing court to inquire personally of Petitioner as to whether he had

received and reviewed his presentence report; and (3) to object to the Court’s

failure to ask the Petitioner if he wanted to speak in his own behalf. [Doc. 1].

The Petitioner also claims that his right to due process was violated when the

sentencing court issued the amended judgment without conducting another

sentencing hearing at which the Petitioner was present. The Petitioner’s final

claim is that United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160

L.Ed.2d 621 (2005), should have been applied to him when his new Judgment

was entered to allow his appeal.



                                DISCUSSION

The claims of ineffective assistance of counsel.

      The Petitioner argues that trial counsel was ineffective because he did

not object to the purported sentencing errors. The Supreme Court has stated


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the test for determining whether a defendant received adequate assistance of

counsel.

      First, the defendant must show that counsel's performance was
      deficient. This requires showing that counsel made errors so
      serious that counsel was not functioning as the "counsel"
      guaranteed the defendant by the Sixth Amendment. Second, the
      defendant must show that the deficient performance prejudiced the
      defense. This requires showing that counsel's errors were so
      serious as to deprive the defendant of a fair trial, a trial whose
      result is reliable.

Strickland v. Washington, 466 U.S. 668, 686, 104 S.Ct. 2052, 80 L.Ed.2d 674

(1984).

      Unless a defendant makes both showings, his claim of ineffective

assistance of counsel must fail. Id. Thus, a defendant must show counsel's

performance fell below objective standards of reasonableness, and, that but

for his conduct, there was a reasonable probability the result of his prosecution

would have been different. Id., at 688.

      The Petitioner’s presentence report was prepared on February 27, 2003.

[Criminal Case No. 3:01cr11, Doc. 497, at 1]. The Petitioner did not file

objections to the report; however, his attorney submitted a document captioned

“Responsibility and Accomplishments with Promissions: Projects Reaching

Others” which reported the Petitioner’s past conduct as a missionary. [Id., Doc.

453, at 5]. As a result, the report was revised on March 18, 2003. [Id., Doc.

497, at 1]. Although the Petitioner’s sentencing hearing occurred on March 25,

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2003, his judgment was not entered until April 4, 2003. [Id., Doc. 280].

      Federal Rule of Criminal Procedure 32 provides in pertinent part:

      The probation officer must give the presentence report to the
      defendant, the defendant’s attorney, and an attorney for the
      government at least 35 days before sentencing unless the
      defendant waives this minimum period.

                                        ...
      Within 14 days after receiving the presentence report, the parties
      must state in writing any objections ... contained in or omitted from
      the report.

                                      ...
      At least 7 days before sentencing, the probation officer must
      submit to the court and to the parties the presentence report and
      an addendum containing any unresolved objections, the grounds
      for those objections, and the probation officer’s comments on
      them.

Fed.R.Crim.P. 32(e)(2), (f)(1), (g).

      The Court reads the provisions of Rule 32 as beginning the 35 day

period from the date of the original presentence report, not the revised one.

See, United States v. McElrath, 253 Fed.Appx. 866 **4 (11 th Cir. 2007). “Rule

32's sequence of timing for receiving and objecting to a PSI therefore suggests

that the thirty-five day requirement applies only to the original PSI.” Id. The

Petitioner’s sentence did not become final until entry of the judgment on April

4, 2003. United States v. Walters, 176 Fed.Appx. 400 (4 th Cir. 2006). His

attorney did not file objections and the March 18, 2004 revision was provided

7 days prior to sentencing. The Petitioner was sentenced on the 36 th day after

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the initial disclosure. The Petitioner, however, argues there is no proof of

when he actually received the presentence report and the 35 day period runs

anew from the date of the revised report.

      Assuming arguendo that the 35 day period started anew with the revised

report, the Petitioner’s attorney averred that, prior to sentencing, he reviewed

the presentence report with the Petitioner who understood its contents. [Id.,

Doc. 415]. The March 18, 2003 revision was prepared at the request of

defense counsel in order to include the Petitioner’s missionary experience.

United States v. Burnette, 21 Fed.Appx. 382, 393 (6 th Cir. 2001). It was not an

objection to the presentence report. Id. “The purpose of the thirty-five day

requirement is to ensure fairness and accuracy in sentencing by allowing the

defendant adequate time to find any objectionable recommendations in the

PSI.” McElrath, 253 Fed.Appx. at **4. Here, no such objections were found.

      Although the Petitioner vaguely claims he wanted to object to the loss

amount and offense level, he has not established that he was prejudiced.

United States v. Roberge, 565 F.3d 1005, 1012 (6 th Cir. 2009), certiorari

denied 130 S.Ct. 331, 175 L.Ed.2d 218 (2009) (actual prejudice must be

shown by contradictory facts that challenge the accuracy of the presentence

report); United States v. Archer, 70 F.3d 1149, 1151 (10 th Cir. 1995); United

States v. Harris, 2008 WL 5157923 **7 (to show prejudice, defendant must


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show that the revised report contained factual inaccuracies, he could have

successfully objected to it and would have received a shorter sentence).

        Moreover, in the Petitioner’s case, the government moved for a

downward departure which was granted and no showing has been made that

the government would have recommended a greater departure had more time

been provided. Id.; United States v. Lockhart, 58 F.3d 86, 89 (4 th Cir. 1995)

(defendant who received minimum sentence could not show prejudice

stemming from failure to comply with Rule 32); United States v. Moore, 97

Fed.Appx. 674 **1 (7 th Cir. 2004) (defendant who waived right to appeal

sentence within guideline range could not show prejudice for violation of Rule

32).     The Court rejects the contention that counsel provided ineffective

assistance. United States v. Workman, 110 F.3d 915 (2 nd Cir. 1997), certiorari

denied 520 U.S. 1281, 117 S.Ct. 2469, 138 L.Ed.2d 224 (1997) (there is no

reasonable probability that defendant’s sentence would have been different

had he received the report 35 days prior to sentencing) .

        Rule 32 also requires that during the sentencing hearing, the court must

verify that the defendant and his attorney have read and discussed the

presentence report. Fed.R.Crim.P. 32(i)(1)(A). The Petitioner claims the

sentencing court did not personally address him on this issue although he

admits the Court did address his attorney as to whether they had done so.


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      While the requirement is most easily satisfied by expressly asking
      whether the report has been read and discussed, Rule 32 is also
      satisfied if “a statement by counsel or defendant unequivocally
      demonstrate[s] that the report has been read and discussed by
      them,” or if court records “allow the district court to infer that
      defendant and defense counsel ... discussed it together.”

United States v. Daniels, 2010 WL 559695 **1 (4 th Cir. 2010), quoting United

States v. Miller, 849 F.2d 896, 898 (4 th Cir. 1988).

      The Petitioner acknowledges that the sentencing court specifically

addressed his attorney as to this issue. [Doc. 1, at 21].

      [Courts have] declined to interpret Rule 32 as creating an absolute
      requirement that the district court “specifically ... ask a defendant
      whether he has read the PSIR.” Instead, [they] “draw reasonable
      inferences from court documents, the defendant’s statements and
      counsel’s statements” to determine whether the defendant has
      been given an opportunity to read the PSR with his counsel.

United States v. Esparza-Gonzalez, 268 F.3d 272, 274 (5 th Cir. 2001),

certiorari denied 535 U.S. 991, 122 S.Ct. 1547, 152 L.Ed.2d 472 (2002).

      Here, “[t]he record is replete with counsel’s references to the contents of

the presentence report” during the sentencing hearing. United States v. Byers,

894 F.2d 402 **2 (4 th Ci. 1989), certiorari denied 494 U.S. 1031, 110 S.Ct.

1482, 108 L.Ed.2d 619 (1990); Mathews v. United States, 2008 WL 5787778

(S.D.W.Va. 2008) **6 (“It is clear that Rule 32(i)(1)(A) does not require the

sentencing court to explicitly question the defendant, but only ‘somehow’

determine that defendant and counsel had an opportunity to read and discuss


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the presentence report.”). Indeed, defense counsel has provided an affidavit

in which he states that he and the Petitioner reviewed and discussed the

presentence report. The Court rejects this contention as well.

      Finally, the Petitioner argues his attorney was ineffective because he did

not object when the Court asked counsel whether the Petitioner wished to

allocute. Rule 32(i)(4)(ii) provides that the sentencing court must “address the

defendant personally in order to permit the defendant to speak or present any

information to mitigate the sentence.” As previously noted by the sentencing

court, the record reveals that the Petitioner was provided an opportunity to

personally address the Court. [Doc. 453, at 7]. While Rule 32 is not satisfied

“by merely affording the Defendant’s counsel the opportunity to speak,” that is

not what occurred in this case. United States v. Muhammad, 478 F.3d 247,

249 (4 th Cir. 2007). The Petitioner was clearly provided an opportunity to

address the court personally and then advised the Court through counsel that

he did not wish to do so.

      The Court concludes based on the record of the hearing that the

sentencing court “unequivocally” communicated that the Petitioner had a right

to allocute. United States v. Magwood, 445 F.3d 826, 829 (5 th Cir. 2006).

“[T]he court, the prosecutor, and the defendant must at the very least interact

in a manner that shows clearly and convincingly that the defendant knew he


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had a right to speak on any subject of his choosing prior to the imposition of

sentence.” Id. The record shows this occurred.

      Moreover, the Petitioner received the benefit of a downward departure.

He has not shown that there is a possibility that he would have received a

shorter sentence had he spoken. Muhammed, 478 F.3d at 249 (defendant not

prejudiced by denial of allocution where no possibility he would have received

a shorter sentence); United States v. King, 263 Fed.Appx. 332 (4 th Cir. 2008)

(there is no per se rule of reversal when defendant denied right of allocution;

defendant failed to show allocution would have resulted in shorter sentence).

Thus, “trial counsel cannot have been ineffective for failing to raise a meritless

objection.” Juan H. v. Allen, 408 F.3d 1262, 1273 (9 th Cir. 2005), certiorari

denied 546 U.S. 1137, 126 S.Ct. 1142, 163 L.Ed.2d 1000 (2006).



The Petitioner’s claims of sentencing error.

      Apart from his claims of ineffective assistance of counsel, the Petitioner

also makes the substantive claims that he should not have been “re-

sentenced” in absentia and that Booker should have been applied at the time

of the entry of the amended Judgment. The Court first notes that these issues

were rejected by the Fourth Circuit on direct appeal. Thus, they are not

cognizable in a collateral attack.    “[C]ircuit precedent and common sense


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dictate that a habeas petitioner cannot be allowed to resurrect claims

previously denied on the merits simply because the district court has granted

relief on [one] appeal claim [related to whether the defendant instructed

counsel to appeal].” United States v. Williams, 444 F.3d 233, 236 (4 th Cir.

2006); United States v. Bell, 5 F.3d 64, 66 (4 th Cir. 1993) (law of the case

doctrine “forecloses re-litigation of issues expressly or impliedly decided by the

appellate court.”); Boeckenhaupt v. United States, 537 F.2d 1182 , 1183 (4 th

Cir. 1976), certiorari denied 429 U.S. 863, 97 S.Ct. 169, 50 L.Ed.2d 142

(1976).

      Nor is there any merit to the claim. In this case, upon the limited remand

by the Fourth Circuit, the sentencing court did not conduct a de novo

sentencing hearing but instead entered a new judgment in order to allow the

Petitioner to appeal. United States v. Hadden, 475 F.3d 652, 667-69 (4 th Cir.

2007) (the district court did not conduct any of the procedures that would have

been required at a full-blown sentencing but merely excised incorrect portion

of sentence in resolving motion pursuant to §2255). In this scenario, it is not

necessary that the court conduct a new sentencing hearing at which the

defendant is present. Id., accord, United States v. Howze, 178 Fed.Appx. 328

(4 th Cir. 2006); United States v. Smith, 11 Fed.Appx. 165, 167 (4 th Cir. 2001).

      Having concluded that the Petitioner’s sentence [had to be]
      vacated, the only issue [which remained was] whether the

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      [sentencing court was] compelled to conduct a new sentencing
      hearing at which the Petitioner must [have been] present. Federal
      Rule of Criminal Procedure 43(c)(4) provides that a defendant
      need not be present when a proceeding involves the reduction or
      correction of a sentence pursuant to 18 U.S.C. §3582(c). That
      statute provides that a court may not modify a sentence once
      imposed except to the extent “expressly permitted by statute ... .”
      18 U.S.C. §3582(c)(1)(B). Section 2255, of course, permits the
      modification and correction of a sentence. The only manner in
      which Petitioner’s sentence [was] changed involve[d] [reimposing
      sentence to allow the taking of a direct appeal]. The remaining
      terms and provisions of the original Judgment [were] unchanged.
      [T]he Petitioner’s presence in this circumstance [was] not required.

Darity v. United States, 124 F.Supp.2d 355, 362-63 (W.D.N.C. 2000), denial

of habeas relief affirmed and overruled on other grounds 22 Fed.Appx. 277 (4 th

Cir. 2001), certiorari denied 535 U.S. 1042, 122 S.Ct. 1807, 152 L.Ed.2d 663

(2002) (citations omitted).

      On direct appeal after remand, the Petitioner raised the following issue:

“Whether the ‘corrected’ sentence imposed [on remand] is statutorily

erroneous under Booker, because the district court mandatorily applied the

Sentence Guidelines” as opposed to an advisory reliance thereon. United

States v. Greer, 2007 WL 3022743. The Court of Appeals found this claim, as

well as others, to be barred by his waiver of the right to appeal. Greer, 259

Fed.Appx. at 610-11. “Greer agreed to waive appellate review of his sentence

and conviction except for issues concerning ineffective assistance of counsel

and prosecutorial misconduct.      We conclude Greer’s appeal waiver was


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knowing and voluntary. ... Accordingly, because of the appeal waiver, we

dismiss the appeal.” Id.

      In the plea agreement, the Petitioner also waived his right to contest his

convictions and sentences in collateral proceedings under § 2255. Defendants

may make such waivers provided that the “waiver [w]as knowing and

voluntary.” United States v. Lemaster, 403 F.3d 216, 220 (4 th Cir. 2005); see

also United States v. Cannady, 283 F.3d 641, 645 n.3 (4 th Cir. 2002), certiorari

denied 537 U.S. 936, 123 S.Ct. 38, 154 L.Ed.2d 238 (2002) (observing that

courts generally have enforced waivers of collateral review rights); United

States v. Cohen, 459 F.3d 490, 493-95 (4 th Cir. 2006), certiorari denied 549

U.S. 1182, 127 S.Ct. 1169, 166 L.Ed.2d 997 (2007) (enforcing waiver of the

right to a direct appeal); and United States v. General, 278 F.3d 289, 399-401

(4 th Cir. 2002) (rejecting claims which came within the scope of appellate

waiver).

       The Fourth Circuit has determined that the waiver provision in the

Petitioner’s case is valid and enforceable against his non-counsel related

claims. Greer, 259 Fed. Appx. at 610-11. The Petitioner’s claim that the Court

sentenced him in violation of the rule announced in Booker is thus barred by

this waiver. Cannady, 283 F.3d at 645.

      The Court has considered the Petitioner’s motion, any attached exhibits,


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and the record of the prior proceedings. The Court finds that the Petitioner is

not entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not made a substantial showing of a denial

of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.



                                     ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED and this action is DISMISSED.

      IT IS FURTHER ORDERED that the Court declines to issue a certificate

of appealability.

      The Clerk of Court is requested to enter Judgment in favor of the United

States.

      The Petitioner is hereby placed on notice that he may seek a certificate


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of appealability from the United States Fourth Circuit Court of Appeals

pursuant to Federal Rule of Appellate Procedure 22.



                                     Signed: May 14, 2010




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